 Case 3:22-cv-01253-NJR Document 52 Filed 06/21/24 Page 1 of 2 Page ID #331



                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF ILLINOIS


 D’LISA WILLIAMS, individually and on
 behalf of all others similarly situated,

                                Plaintiff,                       Case No. 3:22-cv-01253

           v.                                                    Hon. Nancy J. Rosenstengel

 JRN, INC., a Tennessee corporation,

                                Defendant.


                       JOINT MOTION TO EXTEND DEADLINE TO ANSWER

                                                    (FIRST REQUEST)

          IT IS HEREBY STIPULATED AND AGREED, by and between counsel for Plaintiff

D’Lisa Williams (“Plaintiff”) and Defendant JRN, Inc. (“JRN”), that the deadline for Defendant

to file a response to the complaint is extended from June 20, 2024 to July 9, 2024. This is the first

stipulation for extension of time to file a response to the Complaint.

          This request is made in the interest of providing the parties additional time to discuss

Plaintiff’s allegations and claims in the Complaint before Defendant is required to incur the cost

of answering the Complaint. The parties’ discussions have advanced, and the parties do not

anticipate that a further extension will be necessary.

          WHEREFORE, the Parties respectfully request that the Court grant this Joint Motion To

Extend Deadline to Answer Complaint and enter the proposed Order, submitted under separate

cover.

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Case 3:22-cv-01253-NJR Document 52 Filed 06/21/24 Page 2 of 2 Page ID #332




Dated: June 21, 2024                         Respectfully submitted,

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